                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


COREY ALLEN WILSON,                              )
                                                 )
                            Petitioner,          )
                                                 )
                     v.                          )      1:16CV686
                                                 )      6:96CR154-1
UNITED STATES OF AMERICA,                        )
                                                 )
                            Respondent.          )

                                          JUDGMENT

       On October 24, 2016, the United States Magistrate Judge’s Recommendation

was filed and notice was served on the parties pursuant to 28 U.S.C. § 636. No

objections were filed within the time limits prescribed by Section 636.

       Therefore, the Court need not make a de novo review and the Magistrate

Judge’s Recommendation [Doc. #88] is hereby adopted.

       IT IS THEREFORE ORDERED AND ADJUDGED that this action is filed and

dismissed sua sponte for failure to obtain certification for this § 2255 application by

filing a Motion for Authorization in the Court of Appeals as required by 28 U.S.C.

§§ 2255 and 2244 and Fourth Circuit Local Rule 22(d). Finding no substantial issue

for appeal concerning the denial of a constitutional right affecting the conviction, nor a

debatable procedural ruling, a certificate of appealability is not issued.

       This the 29th day of November, 2016.



                                                      /s/ N. Carlton Tilley, Jr.
                                                 Senior United States District Judge




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